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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

VICTORIA MANNINA,                                        )
                                                         )       Case No.: 1:15-cv-0931 (KBJ)
                                 Plaintiff,              )
                                                         )
          v.                                             )
                                                         )
THE DISTRICT OF COLUMBIA, ET AL.,                        )
                                                         )
                                 Defendants.             )
                                                         )

                                   JOINT DISCOVERY REPORT

          In response to the Court’s Minute Order of November 8, 2017, Plaintiff Victoria Mannina

and Defendant District of Columbia (the “District”) respectfully submit this Joint Discovery

Report.

                                   PRELIMINARY STATEMENT

          PLAINTIFF’S STATEMENT: This case is about the death of Paul Mannina. Shortly

after being arrested in June 2013 for an alleged violent crime of notoriety, Mr. Mannina died

while in the custody of the District of Columbia Department of Corrections (“DOC”) at its

Central Detention Facility (“D.C. Jail”).

          In this lawsuit, Plaintiff asserts the District had clear, specific knowledge of Mr.

Mannina’s suicidal tendencies and a near-fatal suicide attempt. He was arrested at the direction

of the Metropolitan Police Department (“MPD”) while in the hospital recovering from an

attempted suicide by ingesting a multi-substance cocktail of drugs and alcohol, and in the

investigation of Mr. Mannina’s alleged crime MPD was informed that immediately following the

altercation for which he was being investigated, Mr. Mannina threatened to kill himself. Thus,

the District had clear knowledge from multiple sources that Mr. Mannina was actively suicidal,
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in crisis, and in need of preventative care. Tragically, and in spite of this knowledge, the District

allowed Mr. Mannina access to a razor. On June 18, 2013, hours after returning from a court

hearing in which he was denied his pretrial release, he used a razor provided by his jailers to end

his life.

        As more particularly alleged in Plaintiff’s Second Amended Complaint [ECF 33], Mr.

Mannina’s Pretrial Services report twice stated that he had thoughts about harming himself.

According to the District, this information was unknown to the DOC.

        Discovery to date shows that the District and the DOC turned a blind eye to the

substantial risks of serious harm or death that detainees in crisis like Mr. Mannina faced. Instead,

it relied on a cursory mental health evaluation provided by inadequately trained personnel, which

Plaintiff claims was both negligent and unconstitutional, and was overseen by prison staff who

were similarly untrained. For example, the personnel conducting Mr. Mannina’s mental health

screening were not even informed of the charges against him; facts which are crucial in suicide

prevention (indeed, all four of the inmates who committed suicide at D.C. Jail in 2012-13 were

charged with sex crimes like Mr. Mannina).

        In addition to the District’s callous convention of failing to provide prisoners with due

care, Plaintiff asserts that the District further violated Mr. Mannina’s constitutional rights by

purposefully granting or knowingly facilitating uncontrolled and unrecorded access to razors;

discovery produced at the end of the prior discovery period substantiated that, notwithstanding a

mandatory Post Order requiring permanent logs of all razors, DOC guards did not properly log

distribution of razors, and simply destroyed razor records on a daily basis. Plaintiff also claims

that the District violated Mr. Mannina’s constitutional rights by systematically failing to train its

personnel appropriately in suicide prevention, by knowingly violating safety and education



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standards, and by failing to collect readily available information in a way to prevent the serious

risk of self-harm. These systematic failures were observed by an expert in prison standards and

detailed in a report commissioned by and provided to the DOC.

       DEFENDANT’S STATEMENT:

       The District disputes Plaintiff’s statements and views them as irrelevant to this report,

which is intended update the Court on the current state of discovery disputes that may require

Court intervention. The Plaintiff’s recounting of the facts is far from neutral, beginning with its

characterization of Mr. Mannina’s sexual assault of a female colleague that required

hospitalization and bone reconstruction as an “altercation.” The psychiatrist who examined Mr.

Mannina at Montgomery General there testified that there was no evidence that he was suicidal.

At intake at the D.C. Jail, both a medical doctor and a psychologist separately assessed Mr.

Mannina’s psychological health and suicide risk. None of these medical professionals concluded

that Mr. Mannina was at risk of suicide. The policy of the medical provider at the Jail is not to

tell medical staff what the inmates charges are, in order to avoid them from being biased against

them on this basis.

                          SUMMARY OF THE STATUS OF DISCOVERY

       Discovery in this action has proceeded slowly, and it appears that the parties are at an

impasse on several areas of discovery.

       PLAINTIFF’S STATEMENT: Plaintiff seeks the Court’s assistance to resolve these

matters and seeks leave to file several motions for relief.

       1. First, Plaintiff seeks leave to file a motion compelling production of the documents and

updated and complete answers to interrogatories and requests for admissions. Plaintiff will




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request that the Court order the District to produce relevant documents and for other relief, and

to update its outdated and seriously incomplete written discovery responses.

          2. Second, Plaintiff seeks leave to file motions regarding the District’s privilege claims.

Shortly before the end of discovery, the District produced an extensive privilege log withholding

hundreds of documents from production on alleged privilege grounds. Nearly all the documents

withheld on grounds of attorney-client privilege and deliberative process privilege are not subject

to protection from nondisclosure. In addition, because of the lateness, inadequacy, and legally

frivolous nature of the District’s privilege log, Plaintiff believes the District has waived its

privilege claims in this action.

          3. Third, as part of her challenge to the District’s privilege claims, Plaintiff will seek

relief from the District’s improper decision to instruct its deposed witnesses not to answer

questions about factual matters following Mr. Mannina’s death. As a single example, it appears

that the District’s DOC Director and his deputy ordered an investigator to change parts of his

investigatory report on Mr. Mannina’s death. However, during this investigator’s deposition, the

District instructed him not to answer relevant and purely factual questions regarding the factual

report.

          4. Finally, Plaintiff intends to file a motion seeking leave to propound additional

discovery requests. In her November 10, 2016 Scheduling Order [ECF 23], Judge Jackson

initially limited the parties to 25 document requests, 40 interrogatories, and 15 requests for

admissions, but at the hearing invited the parties to request additional discovery if needed.

Plaintiff seeks additional interrogatories and document requests, and believes that this complex

case can be substantially simplified if the Court permits additional requests for admissions to

establish facts and authenticity of documents and evidence. The additional admissions will avoid



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the needless cost and time of taking additional depositions to prove facts that have all but been

established by documents already produced by the District and from deposition testimony.

       DEFENDANT’S STATEMENT:

       The District responses to Plaintiff’s numbered paragraphs above as follows:

       Respnse to paragraph 1. The District disagrees with Plaintiff that the parties have

reached an impasse on discovery that requires the Court’s intervention. Plaintiff has not

specifically identified how the District’s responses to her requests for admission or her

interrogatories are inadequate or incomplete. Other than documents the District has

withheld for privilege, there are no documents that Plaintiff has specifically identified and

requested that the District has not produced.

       Response to paragraph 2: After considering Plaintiff’s objections to the District’s

privilege log, the District reviewed each document originally withheld for privilege and is

producing a subset of those documents to Plaintiff. The District will also produce an

updated privilege log with additional information that Plaintiff has requested in support of

the claims of privilege. Plaintiff should review these documents and updated privilege log

and determine whether they meet their objections before asking this Court for relief. This

will happen next week.

       Response to paragraph 3: The District is open to considering Plaintiff’s position but

is waiting for a copy of the transcript to assess the merits of Plaintiff’s argument. The

Plaintiff agreed to provide the District with a copy of this deposition transcript, but hasn’t.

Therefore, it is premature to involve the Court in this dispute.

       Response to paragraph 4: To the District’s best recollection, Judge Jackson stated at

the hearing that Plaintiff could request additional discovery if she can demonstrate a need.



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The limits the Court set were reasonable, and Plaintiff has not shown a need for additional

written discovery, so the District is opposed.

                                                DISCUSSION

        A.        Document Discovery

        PLAINTIFF’S STATEMENT: As set forth in Plaintiff’s Motion to Modify Scheduling

Order [ECF 42] discovery in this action has lagged badly. Because the District has nearly all of

the information needed for Plaintiff to prove her case, she has been badly prejudiced by the

District’s inaction.

        (1) The District:

             i.   Produced its Rule 26 Initial Disclosures in mid-December, 2016, 18 months
                  following the filing of this action.
          ii.     Was tardy in responding to both of Plaintiff’s Requests for Documents (thus
                  waiving its objections to production of these documents).
         iii.     Produced only nine pages of documents in responding to a request for “All
                  Documents identifying, discussing, or describing Decedent’s suicide.”
         iv.      Did not produce any document retention policies until after the close of discovery.
          v.      Produced more than 80% of the discovery in this action less than five weeks
                  before the close of discovery;
         vi.      Produced its first policies regarding control of razors at DC Jail after months of
                  delay and less than 30 days before the close of discovery;
        vii.      Produced a discovery witness who stated under oath (both in response to
                  interrogatories and in response to a request for admission) and after producing
                  only 613 pages of documents that the District had produced all relevant
                  documents in the action – after which the District deluged Plaintiff with
                  approximately 12,000 more pages several weeks before the previous close of
                  discovery.
        (2) Notwithstanding the long drought followed by a deluge of documents, the District has

completely failed to meet its discovery obligations. For example, after agreeing to do “test

searches” for emails on five witnesses, the District took nearly 5 months to conduct the searches,



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produced emails for only four witnesses, and then denied any responsibility to search for more.

At present, Plaintiff has almost no emails from the MPD personnel who had first-hand

knowledge of Mr. Mannina’s suicidal condition, or from non-DOC, but District personnel who

had knowledge of Mr. Mannina’s arrest, incarceration, and death. Neither has the District

produced emails or communications (other than certain policy documents) from its contractor,

Unity Healthcare, whose personnel conducted Mr. Mannina’s mental status evaluation, using

District equipment at the DC Jail. The production of these emails and documents are crucial to

having an account of the District’s knowledge and actions, and to evaluate the District’s

assertion that crucial mental health information known to the MPD and the DOC (to name a

few) was unavailable to it. These documents have been requested but not produced.

       (3) Moreover, even when emails were produced, it appeared that they had not been

reviewed. As a single example, while searching several email accounts for documents discussing

“razors,” the District found and produced to Plaintiff:

              Multiple copies of an email advertisement for HP computers boasting of a "razor-
               sharp breathtakingly brilliant HD display." (#9016-17)

              Several copies of an emailed report about the escape of prisoners in Dade County,
               Florida over a "razor-wire” fence. (#9019-24)

              Multiple copies of a Washington Times article titled "DC Ward 5 homeless
               shelter site has strip club nearby, but no groceries" that cited "fences tangled with
               razor wire." (#2413, #2485 (summary), #2489, #9041)

              A CNN article about Hillary Clinton's "razor-thin" Iowa primary victory. (#9280)

              A Congressional Quarterly article discussing the "razor-thin" passage of a 2015
               House of Representatives spending bill.

              An article from the Washington Blade on a "razor-thin" DC Council election.
               (#3389)

              An email about the National Christmas Tree lighting in 2013, stating that razor
               blades are not permitted at the event. (#5060)



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              April 30, 2013 incident report regarding the arrest at a housing project of someone
               with a gun and a straight razor. (#7588)

              An email promoting the use of coffee filters for many purposes, including "razor
               nick fixers." (#8293)

              A report on the Supreme Court's "razor-thin" majority in gun right cases.
               (#10322)
       In addition, the District has produced Program Manuals on “Use of Government Vehicles

- Fleet Management,” (#8417-32) and “Inmate Correspondence,” (#8433-49), as well as dozens

of Washington Post articles on issues as diverse as a murder mistrial (#8953); the reconstruction

of Kenilworth Avenue (#9219); the delivery of a hand grenade to DC’s 4th District Police for

disposal (# 2682); a 2009 Metrorail crash (#2362), the hiring of new DC Director of

Employment Services (#6306) and the development of DC’s Southwest Waterfront (#3045).

       Production of such records (and there are hundreds more) belie any claim that the District

has been transparent and cooperative, or even tried to meet its discovery obligations. Rather, by

delaying endlessly, withholding crucial documents, producing masses of clearly irrelevant

documents, and by refusing to fulfill obligations it made, the District has confounded every effort

by Plaintiff to conduct discovery efficiently.

       This behavior prejudices Plaintiff, and is particularly egregious in this case, in that nearly

all relevant information is in the District’s possession.

       Plaintiff has met with the District many times to seek resolution of these issues, but the

situation remains unchanged. Plaintiff seeks that the District:

              Timely produce documents already sought;

              Timely produce responsive emails from DOC and MPD employees (starting with

               emails from the several dozen witnesses the District identified in its Rule 26




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               Initial Disclosure, and augmented by lists of witnesses already provided by

               Plaintiff);

              Amend its discovery responses to identify which documents were produced in

               response to specific requests, so that the potential applicability of documents is

               transparent, and issues such as the production of documents on the use of coffee

               filters as "razor nick fixers" can be more directly addressed;

              Report to the Court regularly on its progress in identifying; and producing these

               documents, in light of its previous assertion that it required more than three

               months simply to formulate computer searches for emails; and

              Certify, under penalty of perjury, completion of these discovery obligations.

       Moreover, Plaintiff seeks a declaration by the Court that the District has waived its

objections to production of relevant documents.

       DEFENDANT’S STATEMENT:

       As above, the District responds to the numbered portions of Plaintiff’s statement as

follows:

       Response to paragraph (1)(i): The beginning of discovery in this matter was delayed

because Plaintiff’s original complaint included defendants and claims that did not

withstand a Rule 12(b)(6) challenge. The Scheduling order set December 12, 2016, as the

date initial disclosures were due and the District filed its disclosures one day early on

December 11, 2016. See ECF 25. Because the District already produced these disclosures

there is no dispute for this Court to resolve.

       Response to paragraph (1)(ii): The Department of Corrections requested a

protective order in order disclose records that contain confidential information about


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inmates, corrections procedures, and personnel information. Plaintiff’s counsel dragged

their feet in agreeing to a protective order. So the District provided all the information

Plaintiff sought about Mr. Mannina before a protective order was entered, and the

remainder afterwards. Because Plaintiff now has the responses, there is no dispute for this

Court to resolve.

       Response to paragraph (1)(iii): After Plaintiff’s suicide the Department of

Corrections investigated the incident and this complete report has been provided to

Plaintiff. Its not clear what Plaintiff is asking for.

       Response to paragraphs (1)(iv)-(vii): Plaintiff requested documents in stages and

accordingly the District has produced them in stages. The District produced interrogatory

responses signed by the above-mentioned witness on March 8, 2017. On April 14, 2017,

Plaintiff requested email searches and other documents which she had not previously

specifically requested. Plainly, the witness’s certification of the completeness of its March

8, 2017 responses did not cover discovery requests Plaintiff had yet to make. Because many

of the requested documents pertained to inmate suicides and suicide attempts, they

contained confidential medical information and had to be redacted to maintain inmate

privacy. For this reason, review took several months. The District produced the requested

documents in August and September 2017, and is in the process of producing additional

documents previously withheld for privilege from these productions. Hence, it is not clear

what relief Plaintiff is requesting.

       Response to paragraph (2): The parties agreed to the first email search according to

mail boxes and time period the Plaintiff proposed. The Plaintiff did not request emails

from the officers that investigated Mr. Mannina’s alleged crime and suicide. Moreover, the



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officers involved have indicated that there are likely no such emails. We are willing to

negotiate a reasonable search, but Plaintiff has refused to talk.

       According to a May 2017 agreement with the Plaintiff, the District searched the

email boxes for the Director of DOC, the investigator of Mr. Mannina’s suicide, the

Warden of the Jail and the correctional officers on duty when Mr. Mannina died. Plaintiff

was provided with the results of the search she requested.

       On October 24, 2017, Plaintiff asked the District to conduct a second email search

for sixteen individuals, including the General Counsel of the Department of Corrections

and a member of her legal team. The District explained to Plaintiff that it is open to

searching these email boxes provided that Plaintiff will work with the District to identify

reasonable search terms and time periods for the search. Plaintiff refuses to do so and

insists that the District search the 16 emails for nine years. She says that the District

should use the search terms and time periods the parties identified for the first email

search. The time period for the first search was nine years.

       These paramaters are patently inappropriate for some of the listed individuals. For

instance, Plaintiff originally asked the District to produce nine years’ worth of emails from

certain DOC employees that contain the word “suicide.” This search is appropriate for

DOC employees but not for employees of the Office of the Chief Medical Examiner or

MPD officers, who are regularly tasked with investigation of suicides that do not take place

at the D.C. Jail. Some of the 16 mail boxes are for MPD officers whose only involvement

in this case was their investigation of Mr. Mannina’s alleged crime and suicide. The

Plaintiff has also asked the District to search the emails of Unity, a subcontractor of the

District. However, the District does not have access to Unity’s emails. The District is



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willing to search of the emails it has access to for those mentioning Mr. Mannina, but

would prefer to reach agreement with Plaintiff about the scope of the search at the outset.

       Response to paragraph (3): Plaintiff also objects that the District has produced

emails that she views as irrelevant. Plaintiff specifically asked the District to search email

boxes for emails containing the word “razor” and to produce those emails to her, and the

District did so. If Plaintiff wants additional emails, it is reasonable to expect Plaintiff to

work with the District to identify search terms for the email boxes she wants the District to

search. The District is also willing to work with Plaintiff to tailor the list of search terms or

to filter emails from external spam domains to exclude irrelevant emails from any

subsequent production.

       B.      Written Discovery

       PLAINTIFF’S STATEMENT: As discussed above, the District has not taken its

obligation to respond to Plaintiff’s Interrogatories and Requests for Admissions in any serious

way. Many of the questions are not answered substantively at all, and some, such as certifying

the completion of discovery after release of 600 pages but virtually no emails, no policies

regarding razor control, and the retention policies, seem absurd to no real purpose. Plaintiff

wishes to bring these responses to the Court for an appropriate order to compel complete and

updated answers, and for other relief.

       DEFENDANT’S STATEMENT:

       The District has tried to work with Plaintiff to give her the information she claims

she needs.

       C.      Privilege Claims




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       PLAINTIFF’S STATEMENT: Several weeks before the close of discovery, the District

dumped on Plaintiff a massive privilege log with more than 350 entries, detailing documents that

were withheld or redacted based on claims of privilege, deliberative process, and/or work

product. Plaintiff does not now challenge the District’s work product claims, but wishes to file a

motion seeking production of documents withheld under the attorney-client and deliberative

process privilege.

       The District’s claims of privilege do not pass any basic test of nonfrivolousness. Many of

the documents withheld appear to be purely factual in nature and not the subject of legal analysis

or part of a deliberative process. For a large number of the documents withheld under the

attorney-client privilege, no attorney appears to be involved, no attorney is named, and no legal

matter is identified. Likewise, many documents withheld under the deliberative process privilege

are strictly factual and do not appear to involve any deliberative process whatsoever.

       Plaintiff intends to seek not only production of withheld documents, but a declaration that

the District has waived the protection of these privileges because of the late and ill-taken nature

of its claims to date. For example, the District withheld from production under the deliberative

process privilege a public report that was:

              Produced to DOC by an outside consultant;

              The subject of public hearings before the DC Council;

              Widely reported upon by the Washington Post; and

              Attached to the current Complaint in this action.




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        The deliberative process privilege seems inappropriate for this public document, and the

District’s claim regarding it is not well taken.1

        In negotiations with the District, the District has stated that it intends to produce the vast

majority of the documents it has withheld under privilege claims “soon.” While this is a welcome

development, this does not exonerate the District’s frivolous assertion of privilege. Rather, it

appears to be an acknowledgment that nearly all of the District’s privilege claims are without

basis, and Plaintiff will ask the Court to determine that because of the District’s behavior it no

longer is entitled to assert attorney-client privilege or deliberative process privilege in this action.

        Likewise, as stated above, the District has instructed witnesses not to answer questions

about purely factual matters. Plaintiff awaits transcripts in these matters, but if the District will

not withdraw its instructions and permit re-deposition of these witnesses on conditions agreeable

to Plaintiff, Plaintiff will bring these issues to the prompt attention of the Court.

        DEFENDANT’S STATEMENT:

        In light of Plaintiff’s objections to its privilege withholding and its privilege log, the

District has reviewed all documents it originally withheld for privilege and is disclosing

additional documents to Plaintiff. The District’s litigation support team is currently preparing

the production. The District does not maintain that the Hayes report (the document Plaintiff

mentions above) is privileged, and this report and communications related to it have been

produced to Plaintiff. Plaintiff should review the District’s new production and updated

privilege log before asking this Court to intervene.

        D.      Additional Discovery




1
 The withholding of this public document did not prejudice Plaintiff, but does illustrate the
District’s cavalier attitude in invoking privilege.
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        PLAINTIFF’S STATEMENT: Plaintiff seeks leave of the Court to propound additional

discovery. In her November 10, 2016 Scheduling Order [ECF 23], Judge Jackson initially limited

the parties to 25 document requests, 40 interrogatories, and 15 requests for admissions. Given the

complexity of this case, Plaintiff seeks leave to propound 15 additional interrogatories and 15

additional document requests. Additionally, as Plaintiff believes that the complexity of this case

can be significantly tamed by the early establishment of facts and issues, Plaintiff seeks leave of

the Court to propound requests to admit to establish facts and authenticity of documents and

evidence without limit, while preserving to the District objections of burdensomeness and abuse.

        DEFENDANT’S STATEMENT:

        At various points in the discovery process, Plaintiff has asked the District for

additional documents that were not specifically requested in their initial 25 document

requests. The District has responded to these requests and has produced the requested

documents. Although the District is willing to conduct a targeted search of additional

emails if Plaintiff can work with the District to identify search terms and parameters, the

District opposes any additional written discovery from Plaintiff unless Plaintiff can show a

need.

        E.     Discovery Hearing

        PLAINTIFF’S STATEMENT: Plaintiff respectfully requests a hearing with the Court to

address the matters raised in this Joint Statement.

        DEFENDANT’S STATEMENT: The District does not request a hearing as it sees no

need to seek the Court’s intervention at this time.




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Dated: November 17, 2017          Respectfully submitted,

                                  /s/ Ray M. Aragon
                                  RAY M. ARAGON, Bar No. 41822
                                  Press, Dozier & Hamelburg, LLC
                                  7910 Woodmont Avenue, Suite 1350
                                  Bethesda, Maryland 20814
                                  Tel: (301) 913-5200
                                  Fax: (301) 913-5205
                                  Email: raragon@pressdozierlaw.com
                                  Counsel for Plaintiff

                                  KARL A. RACINE
                                  Attorney General for the District of Columbia

                                  GEORGE C. VALENTINE
                                  Deputy Attorney General
                                  Civil Litigation Division

                                  /s/ Sarah L. Knapp
                                  SARAH L. KNAPP [470008]
                                  Acting Section Chief, Section III

                                  /s/ Steve Anderson
                                  STEVE ANDERSON [334480]
                                  Assistant Attorney General
                                  Civil Litigation Division, Section III
                                  441 Fourth Street NW, Suite 630 South
                                  Washington, DC 20001
                                  Phone: (202) 724-6607
                                  Fax: (202) 741-5923
                                  Emaill: steve.anderson@dc.gov

                                  /s/ Cara J. Spencer
                                  CARA J. SPENCER [1023182]
                                  Assistant Attorney General,
                                  Civil Litigation Division, Section III
                                  441 4th Street, NW, Suite 600 South
                                  Washington, DC 20001
                                  Phone: (202) 442-9754
                                  Fax: (202) 741-0431
                                  Email: cara.spencer@dc.gov

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                              Attorneys for the District of Columbia




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